      UNITFD STATES DISTRICT COURT
                    for the
                                         ~        C[ERII'SOFI'ICE
                                              U.S.D.C. - Atlanta


          Northern District of Georgia        NOV 19 2018
               Atlanta Division      .
                                         JA~n. EN. Clerk
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                                         BY              Deputy Clerk



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v.                   Case Number:
                                     1:18-CV-5299




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          Notice of Parent and Student Rights Under Section 504
Section 504 of the Rehabilitation Act of 1973, commonly referred to as "Section 504," is
a nondiscrimination statute enacted by the United States Congress. The purpose of
Section 504 is to prohibit discrimination and to assure that disabled students have
educational opportunities and benefits equal to those provided to non-disabled
students.
For more information regarding Section 504, or if you have questions or need additional
assistance, please contact your local system's Section 504 Coordinator at the following
address:
Dr. Karen Manahan
5839 Memorial Drive
Stone Mountain, GA 30083
(678)676-1980
karen_manahan@dekalbschoolsga.org

The implementing regulations for Section 504 as set out in 34 CFR Part 104 provide
parents and/ or students with the following rights:
1. Your child has the right to an appropriate education designed to meet his or her
   individual educational needs as adequately as the needs of non-disabled students. 34
   CFRI04·33
2. Your child has theright to free educational services except for those fees that are
  imposed on non-disabled students or their parents. Insurers and similar third parties
  who provide services not operated by or provided by the recipient are not relieved
  from an otherwise valid obligation to provide or pay for services provided to a
  disabled student. 34 CFR 104.33
3. Your child has a right to participate in an educational setting (academic and
   nonacademic) with non-disabled students to the maximum extent appropriate to his
   or her needs. 34 CFR 104.34
4· Your child has a right to facilities, services, and activities that are comparable to those
   provided for non-disabled students. 34 CFR 104.34
5. Your child has a right to an evaluation prior to a Section 504 determination of
   eligibility. 34 CFR 104.35
6. You have the right to not consent to the school system's request to evaluate your
   child. 34 CFR 104.35
7. You have the right to ensure that evaluation procedures, which may include testing,
   conform to the requirements of 34 CFR 104.35
8. You have the right to ensure that the school system will consider information from a
   variety of sources as appropriate, which may include aptitude and achievement tests,
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            grades, teacher recommendations and observations, physical conditions, social or
            cultural background, medical records, and parental recommendations. 34 CFR 104.35
          9. You have the right to ensure that placement decisions are made by a group of persons,
             including persons knowledgeable about your child, the meaning of the evaluation
             data, the placement options, and the legal requirements for least restrictive
             environment and comparable facilities. 34 CFR 104.35
          10. If your child is eligible under Section 504, your child has a right to periodic
            reevaluations, including prior to any subsequent significant change of placement. 34
            CFR104.35
          11. You have the right to notice prior to any actions by the school system regarding the
            identification, evaluation, or placement of your child. 34 CFR 104.36
          12. You have the right to examine your child's educational records. 34 CFR 104.36
          13. You have the right to an impartial hearing with respect to the school system's actions
             regarding your child's identification, evaluation, or educational placement, with
             opportunity for parental participation in the hearing and representation by an
             attorney. 34 CFR 104.36
          14. You have the right to receive a copy of this notice and a copy of the school system's
             impartial hearing procedure upon request. 34 CFR 104.36
          15. If you disagree with the decision of the impartial hearing officer (school board
             members and other district employees are not considered impartial hearing officers),
             you have a right to a review of that decision according to the school system's impartial
             hearing procedure. 34 CFR 104.36
          16. You have the right to, at any time, file a complaint with the United States
             Department of Education's Office for Civil Rights.
